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 Attorneys for Applicant HMD Global Oy



                                    UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA



 IN RE: EX PARTE APPLICATION OF​           )​                Case No.
 HMD GLOBAL OY FOR AN ORDER​               )​
 UNDER 28 U.S.C. § 1782 TO​                )​                RULE 7.1 DISCLOSURE
 OBTAIN DISCOVERY FOR USE IN​              )​                STATEMENT OF HMD GLOBAL OY
 FOREIGN PROCEEDINGS​                      )​
 _________________________________________​)


         Under Rule 7.1 of the Federal Rules of Civil Procedure, HMD Global Oy makes this corporate

 disclosure statement: HMD Global Oy has no parent corporation. No publicly held corporation owns

 10% or more of HMD Global Oy’s stock. HMD Global Oy is not aware of any publicly held

 corporation indirectly owning 10% or more of its stock.

 Date: February 20, 2025​                                Respectfully submitted,

                                                         _______________________________________
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  ​                                                       ​                             Case No. ______________
___________________________________________________________________________________________________________
 ___________________________________________________________________________________________________________________
                                      RULE 7.1 CORPORATE DISCLOSURE STATEMENT OF HMD GLOBAL OY
